Case:11-01489-BKT7 Doc#:13 Filed:04/12/11 Entered:04/12/11 13:46:02   Desc: Main
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                IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF PUERTO RICO



INRE:
                                             CASE HUM.: 11-01489 BKT
BASILIO RIVERA VIZCARRONDO
                DEBTORS
                                             CHAPTER 13 (ASSET CASE)




                          CERTIFICATE OF SERVICE

TO THE HONORABLE COURT:

        COMES(S)   now   Debtor(s)   represented     by   the   undersigned

counsel and respectfully allege(s) and pray(s) as follows:

        1.   The undersigned attorney hereby a certificate that has

notified all creditors and persons with interest as per master

address list of the Chapter 13, dated 4/12/2011.

      WHEREFORE, it is respectfully requested from this Honorable
Court to take notice of this service.

        In San Juan, Puerto Rico, this 12 th , day of April 2011.



                              RESPECTFULLY SUBMITTED.

                              / S/MARILYN VALDES ORTEGA
                              MARILYN VALDES ORTEGA
                              USDC PR 214711
                              P.O. Box 195596
                              San Juan, PR 00919-5596
                              Tel. (787) 758-4400
                              Fax. (787) 763-0144
                              E-mail: valdeslaw@prtc.net
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                                                                                     United States Bankruptcy Court
                                                                                          District of Puerto Rico

      INRE:                                                                                                                                              Case No. It:Q.1489-B!5T ..
      BJY.EB.~_Yt~C::~RRON DO, §A~tL,IO__                            .._.__ ....... _____                                                                Chapter 13
                                                                           Debtor(s)

                                                                                    CHAPTER 13 PAYMENT PLAN
      I. The future earnings of the Debtor(s) are submitted to the supervision and control of the Trustee and the Debtor(s) shall make payments
      to the Trustee [if directly 0 by payroll deductions as hereinafter provided in the PAYMENT PLAN SCHEDULE.
      2. The Trustee shall distribute the funds so received as hereinafter provided in the DISBURSEMENT SCHEDULE.


       PLAN DA T E D : ._____... _______ [if AMENDED PLAN DATED: 4/12/2011
            o
           PRE 0 POST-CONFIRMATION       Filed by: 0 Debtor 0 Trustee ~ Oth~~"-··

                    I. PAYMENT PLAN SCHEDULE                                                                                             II. DISBURSEMENT SCHEDULE

       $                      ~§.Q.!Q.Q x ...._..__ .~.Q = $        ... 1!L()QQ,()Q              A. ADEQUATE PROTECTION PAYMENTS OR                                           $
       $ . . . . ._....._._._           x                = $ _ ......._.___.._................   B. SECURED CLAIMS:
                                        x                = $                                     0 Debtor represents no secured claims.
                                                         = $ _..._______.__._                    [if Creditors having secured claims will retain their liens and shall be paid as
                                                         = $ .........._....                     follows:
                                                                                                 I. 0 Trustee pays secured ARREARS:
                                                                                                 Cr.                                        Cr. __.___.._.._.... _. . . . Cr.
                                                                                                    #                                         # ----_..._.-.. .             #
       Additional Payments:                                                                         $                                         $ ...._.__..._--_._...        $
        ........._ . _....___..._ to be paid as a LUMP SUM                                       2.Ii1T~~~t~~p~y~iNFULL Secured Claims:
~      within                      with proceeds to come from:                                   Cr..R_I;.b.IA~.L,.I; . F.I.. ~. ~.~.c:: II Cr.                           Cr.
C!i
ro
                                                                                                   # ~.1. I:!?:4_?.?.1.4.. _................. . .   #                     #
1£
6
       D Sale of Property identified as follows:                                                   $_...............!?l~I?AQ $                $
~                                                                                                3.0 Trustee pays VALUE OF COLLATERAL:
u
                                                                                                 Cr. _.____.______._..._.. Cr.              Cr.
E
ri>                                                                                                #                         #                # -_.. _...... .
~      0   Other:                                                                                  $                         $                $
~                                                                                                4.I!1Debtor St:TRREN-OERS COLLATERAL to Lien Holder:
                                                                                                      CQQPAJCAREC::I~(.
                                                                                                 5.0 Other:
       Periodic Payments to be made other than, and in
       addition to the above:                                                                    6. 0 Debtor otherwise maintains regular payments directly to:
                                        x
      f--------------------i                        C. PRIORITIES: The Trustee shall pay priorities in accordance with the law.
                                                    11 U.S.c. § 507 and § 1322(a)(2)
                                                    D. UNSECURED CLAIMS: Plan 0 Classifies ii1Does not Classify Claims.
                   IIJ. ATTORNEY'S FEES             I. (a) Class A: 0 Co-debtor Claims / D Other: ................................ . . . . . . . . . . . . . . . . . . . . . . .
                  (Treated as § 507 Priorities)                                  Paid 100% / 0 Other:                           o
                                                    Cr.           ............................... Cr.                     Cr.
      Outstanding balance as per Rule 20 16(b) Fee    #                                            # - ..................   #
      Disclosure Statement: $          2,~74,()()     $                                            $ .._-_.........-..      $
      1 - - - - - - - - - - - - - - - - - - - - - 4 2. Unsecured Claims otherwise receive PRO-RAT A disbursements.
                                                                                                 OTHER PROVISIONS: (Executory contracts; payment ofinterest 10                   unsecured~. etc)
                                                                                                 See Continuation Sheet
                                                                                                                                                                                                    ,i  i
       Signed: lsi BASILIO RIVERA VIZCARRONI2Q __ .                                                                                                                                                 l
               D~~l                                              .                                                                                                                                  I
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      Attorney for Debto                                                                                                                                Phone:   (?~7}758-4400
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      CHAPTER 13 PAYMENT            L




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                                           Debtor(s)

                                             CHAPTER 13 PAYMENT PLAN
                                                Continuation Sheet - Page 1 of 1

. ABOVE MEDIAN/SO MO. COMMITMENT PERIOD; UNSECURED POOL = $0.00;

b. Adequate Protection payments to RELIABLE FINANCIAL at the rate of $50.00 until confirmation;

c. Insurance Coverage for Collateral held by RELIABLE FINANCIAL to be provided through Eastern America Insurance Co.,
upon maturity of contract due on August 01, 2012.

d. Trustee to pay Attorney's Fees ahead of any other creditor.

e. Tax refunds will be devoted each year as periodic payments to fund the plan until the plan's completion. The tender of such
payments shall deem the plan modified by such amount, increasing the base thereby without need of further notice, hearing
or Court order. If need be for the use of debtor of a portion of such refund, debtor shall seek the Court's authorization prior
to the use of funds.

f. Confirmation of this plan constitutes a finding that debtors have timely complied with all of debtor's duties under 11 USC
§521, and that the plan and the bankruptcy case were both filed in good faith.




CHAPTER 13 PAYMENT PLAN
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    I HEREBY CERTIFY: That I electronically filed the foregoing with
    the Clerk of the Court using the CM/ECF System which will send
    notification of such filing to the following:



    11-01489-BKT13 Notice will be electronically mailed to:

    MONSITA LECAROZ ARRIBAS
    ustpregion21.hr.ecf@usdoj.gov

    LUIS ANTONIO LOPEZ LOPEZ on behalf of Creditor COOPACA
    lopezl@prtc.net

    ALEJANDRO OLIVERAS RIVERA
    aorecf@ch13sju.com

    MARILYN VALDES ORTEGA on behalf of Debtor BASILIO RIVERA
    VI ZCARRON DO
    valdeslaw@prtc.net

    I HEREBY CERTIFY: That I have mailed by regular mail to all
    creditors listed.


    11-01489-BKT13 Notice will not be electronically mailed to:

    CITIFINANCIAL
    P.O. BOX 70919
    CHARLOTTE, NC 28272-0919


    COOP A/C ARECIBO (COOPACA)



                                                                                       I
    P.O. BOX 1056
    ARECIBO, PR 00613-1056


    ISLAND FINANCE
    P.O. BOX 71504                                                                     I.




                                                                                       II
    SAN JUAN, PR 00936-8604


    RELIABLE FINANCIAL SERVICES
    P.O. BOX 21382
    SAN JUAN, PR 00928-1382



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